Case 1:21-cv-01243-MSN-TCB Document 32 Filed 01/21/22 Page 1 of 2 PageID# 820


                         IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


 TEACHERS INSURANCE AND ANNUITY
 ASSOCIATION OF AMERICA,
              Plaintiff,                                   1:21-cv-1243 (MSN/TCB)

        v.

 FALTER ET AL.,
                      Defendants.



                                                 ORDER

        This matter comes before the Court on Defendant’s Motion to Dismiss and Compel Arbitration, or

in the Alternative Dismiss the Complaint Against Jessica Doll and Partially Dismiss the Complaint Against

Falter (Dkt. No. 21) and Plaintiff’s Motion for Expedited Discovery (Dkt. No. 7). Having reviewed the

motions, oppositions, the replies thereto, arguments of counsel, and for the reasons stated in open court, it

is hereby

        ORDERED that Defendants’ Motion to Dismiss and Compel Arbitration, or in the Alternative

Dismiss the Complaint Against Jessica Doll and Partially Dismiss the Complaint Against Falter (Dkt. No.

21) is GRANTED in part and DENIED in part. The motion is denied as to Count I (breach of contract)

and Count II (breach of fiduciary duty of loyalty) for the reasons stated from the bench. The motion is

granted as to Count III (Lanham Act). It is further

        ORDERED that Plaintiff’s Motion for Expedited Discovery (Dkt. No. 7) is GRANTED in part

and DENIED in part. Plaintiff shall be granted leave to conduct limited discovery as set forth in open court,

including taking the deposition of defendants Doll and Falter for a maximum of three hours each and

propounding written discovery related to communications with TIAA customers. The motion is denied with

respect to the request to take the deposition of Melanie Simons. Expedited discovery shall be completed

within 14 days of the date of this Order.

        It is SO ORDERED.
Case 1:21-cv-01243-MSN-TCB Document 32 Filed 01/21/22 Page 2 of 2 PageID# 821



                                                                  /s/
                                          Hon. Michael S. Nachmanoff
                                          United States District Judge

Alexandria, Virginia
January 21, 2022




                                      2
